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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                          Defendants.


                          NOTICE OF CORRECTED ATTACHMENTS

       Our motion to file supplemental declarations inadvertently omitted the Diotalevi

Declaration and Exhibits A and B to the Gupta Declaration. Attached are the Diotalevi Declaration,

along with the corrected Gupta Declaration with the missing exhibits. We regret the error.

 Dated: February 28, 2025                          Respectfully submitted,

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